       Case 2:17-cr-00234-TLN Document 138 Filed 03/24/20 Page 1 of 1


 1   J Toney, SB# 43143
 2   Box 1515, Woodland CA 95776
 3   Phone/FAX (530) 666-1908
 4   yoloconflict@aol.com
 5

 6

 7                                    UNITED STATES DISTRICT COURT
 8                               EASTERN DISTRICT OF CALIFORNIA
 9

10    UNITED STATES OF AMERICA                         No. 2:17-cr-234 TLN
11                       Plaintiff,                    STIPULATION AND ORDER TO
                                                       CONTINUE SENTENCING
12           v.
                                                       June 11, 2020 at 9:30 AM before
13    BRENDA MIRANDA
                                                       Judge Nunley
14                       Defendant.
15

16      Pursuant to General Order No. 612 it is now stipulated that sentencing be continued to June

17   11, 2020, at 9:30 a.m., before Judge Nunley and the parties request the Court so order.

18   Dated March 24, 2020

19   Respectfully submitted:                      /s/ J Toney

20                                                Attorney for Brenda Miranda

21   So stipulated:                               /s/ Justin Lee

22                                                Assistant United States Attorney

23   IT IS SO ORDERED.

24

25   DATED: March 24, 2020

26                                                Troy L. Nunley
27                                                United States District Judge

28
                                                      1
